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                      IN THE UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )                  Crim. No. 21cr268
                                    )                  Hon. Carl Nichols
JEFFREY McKELLOP,                   )
      Defendant.                    )
____________________________________)

                 NOTICE REGARDING STATUS OF POTENTIAL MOTIONS

       Comes now Defendant Jeffrey McKellop, by counsel, and reports that he is, as of this

date, unable reliably to predict any motions to be filed prior to his trial for the reason that he has

been without discovery since last August and is consequently unable to assist in his own defense.

       As previously noted orally by undersigned, the staff at the Central Treatment Facility

(“CTF”) of the DC Jail confiscated Defendant’s hard drive of his own discovery for the stated

reason that he had taken it into a meeting with his erstwhile counsel. Defendant was given no

receipt or other acknowledgement of this taking.

       Undersigned tried yesterday to deliver a new hard drive of the discovery to Defendant,

but was not allowed by CTF staff to deliver it personally or to leave it for delivery by CTF staff.

Undersigned was given a number to call.

       This conduct is of a piece with conduct of CTF staff previously observed by undersigned.

       Defendant is not, at this point, requesting a continuance of his trial date, but simply

apprising the Court of the practical obstacles erected by CTF staff.

                                                       Respectfully Submitted,

                                                       JEFF McKELLOP
                                                       By Counsel




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                                                     _____/s/____________
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                                                     Counsel for the Defendant




                                 Certificate of Electronic Service

       I hereby certify that on March 15, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.

                                                     ____/s/_____________
                                                     John C. Kiyonaga




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